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                             UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

  TACTACELL, LLC                                     ClVIL ACTION NO.: “6:22-CV-00773”

  VERSUS
                                                     JUDGE: David C. Joseph
  DEER MANAGEMENT SYSTEMS, LLC
                                                     MAGISTRATE: David Ayo


                              MOTION FOR ORAL ARGUMENT

          NOW INTO COURT, through undersigned counsel, comes Tactacell, LLC (“Tactacell”),

 who respectfully moves this Honorable Court to allow oral argument on Tactacam, LLC’s Motion

 to Dismiss Under Fed. R. Civ. P. 12(b)(2)-(3) and 28 U.S.C. §§ 1406 (Record Document 66).

 Tactacell avers that oral argument will aid the Court’s understanding of the factual and legal issues

 presented.

          WHEREFORE, Tactacell LLC, respectfully requests oral argument of the pending motion

 before the Court.



                                               Respectfully submitted,

                                               RIESS LEMIEUX, LLC

                                               By: /s/ Jonathan S. Forester
                                                   Jonathan S. Forester (#32457)
                                                   Michael R.C. Riess (#2073)
                                                   1100 Poydras Street, Suite 1100
                                                   New Orleans, Louisiana 70163
                                                   Telephone: (504) 581-3300
                                                   Facsimile: (504) 581-3310
                                                   Email: jforester@rllaw.com
                                                   Email: mriess@rllaw.com

                                                    Attorneys for Petitioner, Tactacell, LLC



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                                  CERTIFICATE OF SERVICE
          I hereby certify that I electronically filed the foregoing pleading with the Clerk of Court

 by using the CM/ECF system, which will send a notice of electronic filing to all counsel of record

 on this 1st day of February, 2024.



                                                         /s/ Jonathan S. Forester
                                                          Jonathan S. Forester




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